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                              AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A CRIMINAL COMPLAINT

        I, Carlos D. Fontanez, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent with the Federal Bureau of Investigations (FBI) and have been

since 2015. I was originally assigned to the Washington Field Office (WFO) until 2022. I am

currently assigned to the San Juan Field Office (SJFO). Since 2015, I have investigated crimes

involving Computer Intrusions, National Security, Violent Transnational Gangs including MS-13,

and Drug Trafficking Organizations (DTO) operating in the United States and Latin America. I

have training and experience in the areas of interview and interrogation, evidence recovery, source

recruitment and digital forensic analysis.

        2.      This affidavit is intended to show merely that there is sufficient probable cause for

the requested criminal complaint and does not set forth all of my knowledge about this matter. I

make this affidavit based on my own personal knowledge and on oral and written reports by other

federal, state, and/or local law enforcement agents and officers that investigated this matter. This

affidavit does not contain all the information derived from this investigation only that which is

sufficient to demonstrate probable cause to believe that a crime has been committed.

        3.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 46 U.S.C. §§ 70503(a)(1) and 70506 – conspiracy to

possess with intent to distribute 5 kilograms or more of a mixture or substance containing a detectable amount

of cocaine on board a vessel subject to the jurisdiction of the U.S. has been committed by GABRIEL

BATISTA, ENRIQUE MONTAÑO and ADRIAN CEDEÑO.
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                                     PROBABLE CAUSE

        1.     On February 2, 2025, while on routine patrol the US Coast Guard (USCG) CGC

JOSEPH DOYLE detected a 30-foot vessel (approximate), with two (2) out board engines, and

three (3) persons on board, at a position located approximately 30 NM southwest of St. Croix,

USVI. USCG observed in plain view approximately 25 packages wrapped in green plastic

consistent with narcotic bundles. The description of the vessel matched information previously

obtained by the FBI about a vessel smuggling a large quantity of narcotics into the east-southeast

coast of Puerto Rico during this timeframe. This information was shared with the USCG and other

law enforcement entities for situational awareness. USCG CGC JOSEPH DOYLE requested and

was granted approval by the USCG to approach and conduct an interdiction based on their

authorities.

        2.     On February 3, 2025, USCG CGC JOSEPH DOYLE interdicted the vessel leading

to the arrest of three (3) Venezuelan nationals and seizing 31 bales, with an approximate weight

of 1,000 kgs. USCG conducted a drug test of a bale(s) which tested positive for cocaine.


        3.     The subjects and all items of evidence are pending to be transferred to the FBI on

2/12/2025 for further processing and investigation.




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                                        CONCLUSION

       4.      Based on the forgoing, and based upon my training, experience and participation in

this and other investigations, I believe that sufficient probable cause exists to demonstrate that

GABRIEL BATISTA, ENRIQUE MONTAÑO and ADRIAN CEDEÑO violated United States

federal laws, to wit: Title 46 U.S.C. §§ 70503(a)(1) and 70506.




                                                 Respectfully submitted,



                                                 Carlos D. Fontanez
                                                 Special Agent
                                                 Federal Bureau of Investigations



Subscribed and sworn to before me pursuant to FRCP 4.1 on this 7th      day of February 2025, at
2:50 p.m.
      .




       HON. BRUCE J. MCGIVERIN
       UNITED STATES MAGISTRATE JUDGE
       DISTRICT OF PUERTO RICO
